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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF INDIANA
                                HAMMOND DIVISION

United States of America
       v.                                              Case No.:     2:16 CR 150 JVB

Marlonn Hicks


                                             ORDER

        Mr. Hicks is scheduled for sentencing. As part of its sentence, the Court is considering

imposing the conditions of supervision listed below.

       Mr. Hicks’s counsel must provide this order to Mr. Hicks for his review, and must

discuss it with him, before the sentencing hearing.

       At sentencing, the parties will have the opportunity to object to any conditions they

disagree with or to ask that they be modified.



                              Proposed Conditions of Supervision

            1. Mr. Hicks may not commit another federal, state, or local crime.

            2. Mr. Hicks may not unlawfully use, possess, or distribute a controlled substance.

            3. Because of his drug abuse history, Mr. Hicks must submit to one drug test within

               14 days of beginning his supervision and up to two drug tests per month

               thereafter, as determined by the probation officer.

            4. Mr. Hicks must cooperate in the collection of his DNA sample as directed by the

               probation officer if the collection of such a sample is authorized pursuant to

               section 3 of the DNA Analysis Backlog Elimination Act of 2000.
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        5. Within 72 hours of release from the custody of the Bureau of Prisons, Mr. Hicks

           must report between the hours of 8:00 a.m. and 4:30 p.m. to the probation office

           in the district to which he is released


        6. Mr. Hicks may not knowingly be outside the judicial district between the hours of

           10:00 p.m. and 6:00 a.m. without the Court’s or probation officer’s permission. In

           any case, Mr. Hicks may not knowingly travel more than 50 miles outside the

           judicial district without the Court’s or probation officer’s permission. The

           probation office will provide Mr. Hicks a map describing the boundaries of the

           judicial district at the start of supervision.

        7. Mr. Hicks must report to the probation officer in the manner and frequency as

           reasonably directed by the probation officer. However, he may be required to

           report in person at the probation office only between 8:00 a.m. and 4:30 p.m. on

           the days the probation office is open for business.

        8. In all matters relating to his conditions of supervision, Mr. Hicks must truthfully

           answer the probation officer’s questions. This condition does not prevent Mr.

           Hicks from invoking his Fifth Amendment privilege against self-incrimination.

        9. Mr. Hicks must follow the instructions of the probation officer as they relate to

           the conditions of supervision. Mr. Hicks may petition the Court for relief or

           clarification regarding a condition he believes has become unreasonable.

        10. Mr. Hicks must live at a location approved by the probation officer.

        11. If Mr. Hicks plans to change where he lives or anything about his living

           arrangements (for example, the people he lives with), he must inform the

           probation officer at least 14 days before the change. If informing the probation

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           officer in advance is not possible due to unexpected circumstances, Mr. Hicks

           must inform the probation officer as soon as possible, and no later than 72 hours

           after the change.

                          This condition will allow the probation officer to be aware of
                           changes in Mr. Hicks’s residence so that the probation officer can
                           determine whether such a change poses a risk to the community or
                           impacts Mr. Hicks’s risk and needs. Advance notice of such a
                           change is necessary to allow time to assess the suitability of the
                           living arrangements.

        12. If Mr. Hicks plans to change where he works or anything about his work (for

           example, his position or his job responsibilities), Mr. Hicks must inform the

           probation officer at least 14 days before the change. If informing the probation

           officer in advance is not possible due to unexpected circumstances, Mr. Hicks

           must inform the probation officer within 72 hours after the change.

                      The conditions listed above will be imposed to provide community
                       protection and offender rehabilitation, and to enable the probation
                       officer’s statutory duty to keep informed concerning Mr. Hicks’s
                       conduct, conditions, and compliance.

                      These conditions will enable the probation officer to: be responsible
                       for Mr. Hicks; instruct Mr. Hicks as to the conditions of supervision
                       specified by the sentencing Court; keep informed as to the conduct
                       and condition of Mr. Hicks; report Mr. Hicks=s conduct and condition
                       to the sentencing Court; and aid Mr. Hicks in bringing about
                       improvements in his conduct and condition. It also will allow the
                       probation officer to supervise Mr. Hicks by setting boundaries for
                       travel without permission and by keeping the probation officer
                       informed of his whereabouts.

                      The purpose of these conditions is to build positive rapport and
                       facilitate an honest discussion between the probation officer and Mr.
                       Hicks. Accurate and complete information about the nature and
                       circumstances of the offense and the history and characteristics of Mr.
                       Hicks is necessary to implement effective supervision practices. This
                       condition will also promote the safety of the probation officer.



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        13. Mr. Hicks must notify the probation officer within 72 hours of being arrested or

           questioned by a law enforcement officer.

                           This condition will serve the statutory sentencing purposes of
                            public protection and rehabilitation. It will also enable the
                            probation officer to satisfy the statutory requirements to: keep
                            informed as to the conduct and condition of Mr. Hicks; report Mr.
                            Hicks’s conduct and condition to the sentencing Court; and aid Mr.
                            Hicks in bringing about improvements in his conduct and
                            condition. Finally, it will allow the probation officer to be aware of
                            potential criminal activity or involvement in high-risk situations by
                            Mr. Hicks and it will assist in ensuring that he is complying with
                            other conditions such as the prohibition on committing new crimes
                            or associating with those involved in criminal activity.

        14. Mr. Hicks must make reasonable efforts to obtain and maintain employment at a

           lawful occupation unless he is excused by the probation officer for schooling,

           training, or other acceptable reasons such as child care, elder care, disability, age,

           or serious health condition. If, within 12 weeks of being placed on supervision,

           Mr. Hicks is not employed at the rate of at least 20 hours a week, or if his

           employment falls below the rate of 20 hours a week for a period of at least 12

           weeks during the term of supervision, he must perform 16 hours of community

           service each week in which his employment remains below 20 hours a week; or

           participate in a job skills training and counseling program, daily job search, or

           other employment-related activities, at his own expense. The probation officer

           will supervise participation in any community service program by approving the

           program (agency, location, frequency of participation, etc.). This condition will

           expire after Mr. Hicks performs a total of 400 hours of community service while

           on supervision.

                       This condition will be imposed because employment is associated
                        with pro-social activities that reduce the risk of recidivism and

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                       provide for offender rehabilitation as indicated in the Post Conviction
                       Risk Assessment publication by the U.S. Court’s Administrative
                       Office, also known as PCRA. Community service, performed in lieu
                       of employment activities, is similarly associated with pro-social
                       activities and could lead to full-time employment opportunities.

                      This condition will serve as the publicly discernible penalty in
                       probation cases or as a negative consequence for noncompliance with
                       conditions of supervision; as a controlling strategy that requires Mr.
                       Hicks to be productively occupied; or as a correctional strategy that
                       provides a way for Mr. Hicks to acquire job readiness skills and job
                       experience or broaden his network of associates in a more productive
                       direction. In addition to the specific sentencing purpose to be served,
                       the desired by-product of community service is always to benefit the
                       community.


        15. Mr. Hicks may not own or possess a firearm, ammunition, destructive device, or

           any other dangerous weapon. A dangerous weapon is an instrument that is

           specially designed as a weapon.

                      Mr. Hicks is a convicted felon and prohibited from possessing a
                       firearm, ammunition, or destructive device. Mr. Hicks must also be
                       prohibited from possessing a dangerous weapon to protect the
                       community and for officer safety.

        16. Mr. Hicks may not knowingly and intentionally be in the presence of anyone who

           is illegally using or distributing a controlled substance, and if such activity

           commences when he is present, he must immediately leave the location. Mr.

           Hicks may not knowingly and intentionally visit places where illegal controlled

           substances are distributed or used.

                      This condition will be imposed because visiting places where illegal
                       controlled substances are used or distributed increases the risk that the
                       offender will purchase, use, or possess such substances. This
                       condition supports Mr. Hicks’s rehabilitation and public safety.

                      This condition will also prevent Mr. Hicks from being in an
                       environment where crimes are occurring, antisocial associates are
                       present, or there is an increased risk of substance abuse.

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        17. Mr. Hicks may not knowingly meet, communicate, or otherwise interact with a

           person whom he knows to be engaged, or planning to be engaged, in criminal

           activity.

                          This condition will be imposed because the PCRA indicates that
                           association with peers involved in criminal activity increases the risk
                           of recidivism. This condition also promotes and encourages pro-
                           social relationships that are conducive to a law-abiding lifestyle.


                          Between the hours of 8:00 a.m. and 9:00 p.m., Mr. Hicks must permit
                           a probation officer to visit him at home or any other reasonable
                           location and must permit confiscation of any contraband observed in
                           plain view by the probation officer. A visit between the hours of 9:00
                           p.m. and 8:00 a.m. may be conducted only when the probation officer
                           has a reasonable belief that Mr. Hicks has violated a condition of
                           supervision and that a visit during those hours would reveal
                           information or contraband that would not be revealed by a visit at any
                           other time. This condition will be imposed because the probation
                           officer’s contacts with Mr. Hicks help the officer to ensure
                           compliance with Court-ordered conditions and to assist Mr. Hicks in
                           maintaining a law-abiding lifestyle.


        18. If any portion of the special assessment of $100 remains unpaid when Mr. Hicks

           is released from prison, he must pay it within 12 weeks of his release, or, if

           financially unable to fulfill this requirement, he must arrange a payment schedule

           with the probation office.

        19. Unless an assessment at the time of release from imprisonment or commencement

           of probation indicates that participation is not necessary, Mr. Hicks must

           participate in a drug abuse treatment program and follow the rules and regulations

           of that program. The probation officer, in consultation with the treatment

           provider, will supervise his participation in the program (provider, location,

           modality, duration, intensity, etc.). Mr. Hicks must pay the costs of the program if

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           financially able. Mr. Hicks must also submit to random blood-alcohol or

           breathalyzer testing. Mr. Hicks must pay the costs of this testing if financially

           able to do so.

                       Mr. Hicks has a history of drug abuse/alcohol abuse. This condition is
                        imposed to provide defendant with available treatment services to
                        reduce the risk of recidivism, to provide defendant rehabilitation, and
                        to provide public protection. [Provide a detailed explanation why the
                        above condition is being imposed.]

                       Social science research has shown that substance abuse will tend to
                        draw Mr. Hicks to antisocial others, expose him to antisocial
                        attitudes, interfere with prosocial relationships, hamper success at
                        employment, and lead to impulsive decision making. Drug testing
                        will deter Mr. Hicks from possessing illegal drugs by making him
                        cognizant that unlawful possession can be discovered at any time
                        through drug testing, will protect the public by enhancing the ability
                        of the probation officer to detect unlawful substances and by assisting
                        with substance abuse treatment, and will assist with substance abuse
                        treatment by providing a barometer for change.

        20. If the probation officer determines Mr. Hicks poses a risk to another person

           (including an organization or members of the community), the probation officer

           may require Mr. Hicks to tell the person about the risk, and Mr. Hicks must

           comply with that instruction. Such notification may include advising the person

           about Mr. Hicks’s record of arrests and convictions and substance abuse. The

           probation officer may contact the person to confirm that Mr. Hicks told the person

           about the risk.

        SO ORDERD on June 6, 2018.


                                                    s/ Joseph S. Van Bokkelen
                                                  JOSEPH S. VAN BOKKELEN
                                                  UNITED STATES DISTRICT JUDGE




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